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                             U.S. District Court

                           District of Connecticut

Notice of Electronic Filing

The following transaction was entered on 3/7/2018 at 11:34 AM EST
and filed on 3/7/2018
Case Name:            SnugglyCat, Inc. v. Rutledge and Bapst, Inc. et al
Case Number:          3:17-cv-00526-SRU
Filer:
Document Number: 57 (No document attached)


Docket Text:
ORDER approving [56] STIPULATION of Dismissal. The Clerk
shall close the file. Signed by Judge Stefan R. Underhill on
03/07/2018. (Jamieson, K)


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